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 Fill in this information to identify your case:

 Debtor 1                     James P McGinnis
                              First Name                    Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                     Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF NEW YORK

 Case number            23-10735
 (if known)                                                                                                                                        Check if this is an
                                                                                                                                                   amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest.                   Do Not Include Claims by Insiders.

                                                                                                                                                  Unsecured claim
 1                                                                   What is the nature of the claim?              Credit Card                      $0.00
              American Express
              PO Box 297879                                          As of the date you file, the claim is: Check all that apply
              Fort Lauderdale, FL 33329                                      Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)
                                                                                    Value of security:                                 -
              Contact phone                                                         Unsecured claim


 2                                                                   What is the nature of the claim?              Professional Services            $12,107.65
              Bryan F. Fox & Co.
              46 North Circular Road                                 As of the date you file, the claim is: Check all that apply
              Dublin, IR                                                     Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)
                                                                                    Value of security:                                 -
              Contact phone                                                         Unsecured claim



B104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             Page 1

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 Debtor 1          James P McGinnis                                                                  Case number (if known)            23-10735


 3                                                                What is the nature of the claim?                  Money Judgment                   $25,000.00
            Cohen Clair Lans et al.
            885 Third Avenue, 32nd Floor                          As of the date you file, the claim is: Check all that apply
                                                                          Contingent
            New York, NY 10022                                            Unliquidated
                                                                          Disputed
                                                                          None of the above apply

                                                                  Does the creditor have a lien on your property?

                                                                            No
            Contact                                                         Yes. Total claim (secured and unsecured)
                                                                                  Value of security:                                    -
            Contact phone                                                         Unsecured claim


 4                                                                What is the nature of the claim?                  2750 Main Street,                $534,197.00
                                                                                                                    Brewster, MA
                                                                                                                    02631Barnstable
                                                                                                                    County
            Cynthia Meyn
            c/o PSD                                               As of the date you file, the claim is: Check all that apply
            101 Huntington Ave, Suite 530                                 Contingent
            Boston, MA 02199                                              Unliquidated
                                                                          Disputed
                                                                          None of the above apply

                                                                  Does the creditor have a lien on your property?

                                                                            No
            Contact                                                         Yes. Total claim (secured and unsecured)                        $534,197.00
                                                                                  Value of security:                                    - $1,009,300.00
            Contact phone                                                         Unsecured claim                                           $534,197.00


 5                                                                What is the nature of the claim?                  Professional Services            $4,400.00
            David L. Wolitzky, PH.D.
            50 E. 89th Street                                     As of the date you file, the claim is: Check all that apply
            New York, NY 10128                                            Contingent
                                                                          Unliquidated
                                                                          Disputed
                                                                          None of the above apply

                                                                  Does the creditor have a lien on your property?

                                                                            No
            Contact                                                         Yes. Total claim (secured and unsecured)
                                                                                  Value of security:                                    -
            Contact phone                                                         Unsecured claim


 6                                                                What is the nature of the claim?                  Club Dues                        $3,116.33
            Harvard Club of New York City
            PO Box 9486                                           As of the date you file, the claim is: Check all that apply
            New York, NY 10087                                            Contingent
                                                                          Unliquidated
                                                                          Disputed
                                                                          None of the above apply

                                                                  Does the creditor have a lien on your property?
                                                                         No

B 104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 2

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 Debtor 1          James P McGinnis                                                                  Case number (if known)            23-10735


            Contact                                                         Yes. Total claim (secured and unsecured)
                                                                                  Value of security:                                    -
            Contact phone                                                         Unsecured claim


 7                                                                What is the nature of the claim?                  Credit Cards                     $2,447.45
            HSBC Bank
            PO Box 4657                                           As of the date you file, the claim is: Check all that apply
            Carol Stream, IL 60197                                        Contingent
                                                                          Unliquidated
                                                                          Disputed
                                                                          None of the above apply

                                                                  Does the creditor have a lien on your property?

                                                                            No
            Contact                                                         Yes. Total claim (secured and unsecured)
                                                                                  Value of security:                                    -
            Contact phone                                                         Unsecured claim


 8                                                                What is the nature of the claim?                  Income Tax                       $995,037.19
            IRS
            PO Box 8208                                           As of the date you file, the claim is: Check all that apply
            Philadelphia, PA 19101                                        Contingent
                                                                          Unliquidated
                                                                          Disputed
                                                                          None of the above apply

                                                                  Does the creditor have a lien on your property?

                                                                            No
            Contact                                                         Yes. Total claim (secured and unsecured)
                                                                                  Value of security:                                    -
            Contact phone                                                         Unsecured claim


 9                                                                What is the nature of the claim?                                                   $552,429.81
            IRS
            PO Box 7346                                           As of the date you file, the claim is: Check all that apply
            Philadelphia, PA 19101                                        Contingent
                                                                          Unliquidated
                                                                          Disputed
                                                                          None of the above apply

                                                                  Does the creditor have a lien on your property?

                                                                            No
            Contact                                                         Yes. Total claim (secured and unsecured)                        $552,429.81
                                                                                  Value of security:                                    - $0.00
            Contact phone                                                         Unsecured claim                                           $552,429.81


 10                                                               What is the nature of the claim?                  Professional Services            $13,650.00
                                                                                                                    for Child
            Jaqueline T. Ferraro DMH
            140 W 79th Street, 1A                                 As of the date you file, the claim is: Check all that apply
            New York, NY 10025                                            Contingent
                                                                          Unliquidated
                                                                          Disputed
                                                                          None of the above apply

B 104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 3

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 Debtor 1          James P McGinnis                                                                  Case number (if known)            23-10735


                                                                  Does the creditor have a lien on your property?

                                                                            No
            Contact                                                         Yes. Total claim (secured and unsecured)
                                                                                  Value of security:                                    -
            Contact phone                                                         Unsecured claim


 11                                                               What is the nature of the claim?                  Professional Services            $5,446.97
            Jo Ann Douglas Family Law,
            PLLC                                                  As of the date you file, the claim is: Check all that apply
            170 2nd Avenue                                                Contingent
            New York, NY 10003                                            Unliquidated
                                                                          Disputed
                                                                          None of the above apply

                                                                  Does the creditor have a lien on your property?

                                                                            No
            Contact                                                         Yes. Total claim (secured and unsecured)
                                                                                  Value of security:                                    -
            Contact phone                                                         Unsecured claim


 12                                                               What is the nature of the claim?                  Money Judgement                  $37,059.04
            Jodi McGinnis
            251 W 92nd Street, #6C                                As of the date you file, the claim is: Check all that apply
            New York, NY 10025                                            Contingent
                                                                          Unliquidated
                                                                          Disputed
                                                                          None of the above apply

                                                                  Does the creditor have a lien on your property?

                                                                            No
            Contact                                                         Yes. Total claim (secured and unsecured)
                                                                                  Value of security:                                    -
            Contact phone                                                         Unsecured claim


 13                                                               What is the nature of the claim?                  Professional Services            $7,470.01
            La Tanzi Spaulding & Landreth
            Po Box 2300                                           As of the date you file, the claim is: Check all that apply
            Orleans, MA 02653                                             Contingent
                                                                          Unliquidated
                                                                          Disputed
                                                                          None of the above apply

                                                                  Does the creditor have a lien on your property?

                                                                            No
            Contact                                                         Yes. Total claim (secured and unsecured)
                                                                                  Value of security:                                    -
            Contact phone                                                         Unsecured claim


 14                                                               What is the nature of the claim?                  Income Tax                       $181,018.48
            NYS Dept. of Taxation & Finance
            Bankruptcy Section                                    As of the date you file, the claim is: Check all that apply
            PO Box 5300                                                   Contingent
                                                                          Unliquidated

B 104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 4

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 Debtor 1          James P McGinnis                                                                  Case number (if known)            23-10735

            Albany, NY 12205                                                Disputed
                                                                            None of the above apply

                                                                  Does the creditor have a lien on your property?

                                                                            No
            Contact                                                         Yes. Total claim (secured and unsecured)
                                                                                  Value of security:                                    -
            Contact phone                                                         Unsecured claim


 15                                                               What is the nature of the claim?                  Professional Services            $6,999.00
            Parmet Zhou & Denney LLC
            60 East 42nd Street, 40th Floor                       As of the date you file, the claim is: Check all that apply
            New York, NY 10165                                            Contingent
                                                                          Unliquidated
                                                                          Disputed
                                                                          None of the above apply

                                                                  Does the creditor have a lien on your property?

                                                                            No
            Contact                                                         Yes. Total claim (secured and unsecured)
                                                                                  Value of security:                                    -
            Contact phone                                                         Unsecured claim


 16                                                               What is the nature of the claim?                  Professional Services            $10,615.75
            Peiffer Wolf
            1519 Robert C. Blakes Sr. Dr, 1st                     As of the date you file, the claim is: Check all that apply
            FL                                                            Contingent
            New Orleans, LA 70130                                         Unliquidated
                                                                          Disputed
                                                                          None of the above apply

                                                                  Does the creditor have a lien on your property?

                                                                            No
            Contact                                                         Yes. Total claim (secured and unsecured)
                                                                                  Value of security:                                    -
            Contact phone                                                         Unsecured claim


 17                                                               What is the nature of the claim?                  Tenant Security                  $2,900.00
                                                                                                                    Deposit
            Robert Motha
            6 Cushing Road                                        As of the date you file, the claim is: Check all that apply
            Goffstown, NH 03045                                           Contingent
                                                                          Unliquidated
                                                                          Disputed
                                                                          None of the above apply

                                                                  Does the creditor have a lien on your property?

                                                                            No
            Contact                                                         Yes. Total claim (secured and unsecured)
                                                                                  Value of security:                                    -
            Contact phone                                                         Unsecured claim


 18                                                               What is the nature of the claim?                  Professional Services            $6,925.00
            Stephen M. Smith & Company

B 104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 5

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 Debtor 1          James P McGinnis                                                                  Case number (if known)            23-10735

            LLC                                                   As of the date you file, the claim is: Check all that apply
            509 Madison Avenue                                            Contingent
            New York, NY 10022                                            Unliquidated
                                                                          Disputed
                                                                          None of the above apply

                                                                  Does the creditor have a lien on your property?

                                                                            No
            Contact                                                         Yes. Total claim (secured and unsecured)
                                                                                  Value of security:                                    -
            Contact phone                                                         Unsecured claim


 19                                                               What is the nature of the claim?                  Student Loan                     $83,744.00
            U.S. Dept. of Education
            c/o Nelnet                                            As of the date you file, the claim is: Check all that apply
            PO Box 82561                                                  Contingent
            New York, NY 10128                                            Unliquidated
                                                                          Disputed
                                                                          None of the above apply

                                                                  Does the creditor have a lien on your property?

                                                                            No
            Contact                                                         Yes. Total claim (secured and unsecured)
                                                                                  Value of security:                                    -
            Contact phone                                                         Unsecured claim


 20                                                               What is the nature of the claim?                  Student Loans                    $81,741.66
            U.S. Dept. of Education
            c/o Nelnet                                            As of the date you file, the claim is: Check all that apply
            PO Box 82561                                                  Contingent
            Lincoln, NE 68501                                             Unliquidated
                                                                          Disputed
                                                                          None of the above apply

                                                                  Does the creditor have a lien on your property?

                                                                            No
            Contact                                                         Yes. Total claim (secured and unsecured)
                                                                                  Value of security:                                    -
            Contact phone                                                         Unsecured claim


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X
        /s/ James McGinnis                                                               X
       James P McGinnis                                                                      Signature of Debtor 2
       Signature of Debtor 1


       Date        May 30, 2023                                                              Date




B 104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 6

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 Fill in this information to identify your case:

 Debtor 1                   James P McGinnis
                            First Name                          Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                          Middle Name                          Last Name


 United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF NEW YORK

 Case number           23-10735
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $          1,009,300.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              41,114.18

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          1,050,414.18

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          1,648,664.27

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $          1,176,055.67

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             303,622.86


                                                                                                                                    Your total liabilities $              3,128,342.80


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $              26,922.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              12,980.87

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or household
                purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
            court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                         page 1 of 2
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 Debtor 1      James P McGinnis                                                           Case number (if known) 23-10735

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $     22,117.05


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $       1,176,055.67

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            165,485.66

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $             37,059.04

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $          1,378,600.37




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                     James P McGinnis
                              First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)          First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number             23-10735                                                                                                                                 Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                           12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?




 1.1                                                                             What is the property? Check all that apply
         2750 Main Street                                                               Single-family home                         Do not deduct secured claims or exemptions. Put
         Street address, if available, or other description
                                                                                                                                   the amount of any secured claims on Schedule D:
                                                                                        Duplex or multi-unit building              Creditors Who Have Claims Secured by Property.
                                                                                        Condominium or cooperative
                                                                                        Manufactured or mobile home
                                                                                                                                   Current value of the      Current value of the
         Brewster                          MA        02631                              Land                                       entire property?          portion you own?
         City                              State              ZIP Code                  Investment property                             $1,009,300.00              $1,009,300.00
                                                                                        Timeshare
                                                                                                                                   Describe the nature of your ownership interest
                                                                                        Other
                                                                                                                                   (such as fee simple, tenancy by the entireties, or
                                                                                 Who has an interest in the property? Check one    a life estate), if known.
                                                                                        Debtor 1 only                              Fee Simple
         Barnstable                                                                     Debtor 2 only
         County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                        Check if this is community property
                                                                                        At least one of the debtors and another         (see instructions)
                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                     $1,009,300.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

         No
         Yes




Official Form 106A/B                                                                   Schedule A/B: Property                                                                   page 1
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 Debtor 1       James P McGinnis                                                                                    Case number (if known)      23-10735
4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                    $0.00

 Part 3: Describe Your Personal and          Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.
6.    Household goods and furnishings
      Examples: Major appliances, furniture, linens, china, kitchenware
        No
        Yes. Describe.....
                                    Assorted used household goods and furnishings                                                                               $5,800.00


7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                including cell phones, cameras, media players, games
        No
        Yes. Describe.....

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                 other collections, memorabilia, collectibles
        No
        Yes. Describe.....
                                    Assorted paintings                                                                                                        $10,000.00


9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                musical instruments
        No
        Yes. Describe.....
                                    Rowing machine                                                                                                                $500.00


10.    Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11.    Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
        Yes. Describe.....
                                    Assorted used men's clothing                                                                                                  $200.00


12.    Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....

13.    Non-farm animals
       Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14.    Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....

Official Form 106A/B                                                   Schedule A/B: Property                                                                         page 2
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 Debtor 1       James P McGinnis                                                                    Case number (if known)   23-10735


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                      $16,500.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                        Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

16.   Cash
      Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       No
       Yes................................................................................................................

17.   Deposits of money
      Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                    institutions. If you have multiple accounts with the same institution, list each.
       No
       Yes........................                                     Institution name:


                                      17.1.    Checking                  TD Bank                                                               $24,614.18


18.   Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       No
       Yes..................        Institution or issuer name:

19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
      and joint venture
       No
       Yes. Give specific information about them...................
                                 Name of entity:                                          % of ownership:

20.   Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       No
       Yes. Give specific information about them
                                         Issuer name:

21.   Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
       Yes. List each account separately.
                                Type of account:                Institution name:

22.   Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
       No
       Yes. .....................                               Institution name or individual:

23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............   Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............  Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
       No
       Yes. Give specific information about them...

26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
Official Form 106A/B                                                 Schedule A/B: Property                                                            page 3
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 Debtor 1        James P McGinnis                                                                                                Case number (if known)          23-10735
        Yes.     Give specific information about them...

27.   Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
       Yes. Give specific information about them...

 Money or property owed to you?                                                                                                                                    Current value of the
                                                                                                                                                                   portion you own?
                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                   claims or exemptions.

28.    Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29.   Family support
      Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......


30.   Other amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay,                                    workers’ compensation, Social Security
                benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information..

31.   Interests in insurance policies
      Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
                                    Company name:                                           Beneficiary:                                                            Surrender or refund
                                                                                                                                                                    value:

32.    Any interest in property that is due you from someone who has died
      If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
      someone has died.
        No
        Yes. Give specific information..


33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
      Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34.    Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35.    Any financial assets you did not already list
        No
        Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                $24,614.18

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.   Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes.    Go to line 38.




Official Form 106A/B                                                           Schedule A/B: Property                                                                                  page 4
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 Debtor 1         James P McGinnis                                                                                                    Case number (if known)         23-10735

 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.

46.    Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53.   Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                        ....................................                       $0.00

 Part 8:        List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                   $1,009,300.00
 56. Part 2: Total vehicles, line 5                                                                              $0.00
 57. Part 3: Total personal and household items, line 15                                                    $16,500.00
 58. Part 4: Total financial assets, line 36                                                                $24,614.18
 59. Part 5: Total business-related property, line 45                                                            $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                   $0.00
 61. Part 7: Total other property not listed, line 54                                           +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $41,114.18              Copy personal property total                    $41,114.18

 63. Total of all property on Schedule A/B. Add line 55 + line 62
                                                                                                                                                                           $1,050,414.18




Official Form 106A/B                                                              Schedule A/B: Property                                                                                    page 5
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 Fill in this information to identify your case:

 Debtor 1                    James P McGinnis
                             First Name                     Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name                  Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF NEW YORK

 Case number           23-10735
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt
4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions.            11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      Assorted used household goods and                               $5,800.00                                  $5,800.00     11 U.S.C. § 522(d)(3)
      furnishings
      Line from Schedule A/B: 6.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Assorted paintings                                             $10,000.00                                  $8,575.00     11 U.S.C. § 522(d)(3)
      Line from Schedule A/B: 8.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Rowing machine                                                      $500.00                                  $500.00     11 U.S.C. § 522(d)(3)
      Line from Schedule A/B: 9.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      TD Bank                                                        $24,614.18                                $15,425.00      11 U.S.C. § 522(d)(5)
      Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $189,050?
    (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
              No
              Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                       No
                       Yes


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                     page 1 of 1
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                                                                        Pg 15 of 42
 Fill in this information to identify your case:

 Debtor 1                   James P McGinnis
                            First Name                      Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF NEW YORK

 Case number           23-10735
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Cape Cod 5                               Describe the property that secures the claim:               $562,037.46            $1,009,300.00                      $0.00
         Creditor's Name                          2750 Main Street, Brewster, MA
                                                  02631
                                                  Barnstable County
                                                  As of the date you file, the claim is: Check all that
         1500 Lyannough Road                      apply.
         Hyannis, MA 02601                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
     Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
     Check if this claim relates to a                 Other (including a right to offset)  Mortgage
      community debt

 Date debt was incurred                                    Last 4 digits of account number        7463

 2.2     Cynthia Meyn                             Describe the property that secures the claim:               $534,197.00            $1,009,300.00          $534,197.00
         Creditor's Name                          2750 Main Street, Brewster, MA
         c/o PSD                                  02631
         101 Huntington Ave,                      Barnstable County
                                                  As of the date you file, the claim is: Check all that
         Suite 530                                apply.
         Boston, MA 02199                             Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
     Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
     Check if this claim relates to a                 Other (including a right to offset)  Non-Purchase      Money Security
      community debt

 Date debt was incurred                                    Last 4 digits of account number




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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 Debtor 1 James P McGinnis                                                                                Case number (if known)   23-10735
              First Name                 Middle Name                     Last Name


 2.3   IRS                                        Describe the property that secures the claim:                 $552,429.81               $0.00        $552,429.81
       Creditor's Name



                                                  As of the date you file, the claim is: Check all that
       PO Box 7346                                apply.
       Philadelphia, PA 19101                          Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)  26 USC Section       6321
     community debt

 Date debt was incurred                                    Last 4 digits of account number




   Add the dollar value of your entries in Column A on this page. Write that number here:                             $1,648,664.27
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                            $1,648,664.27

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                     James P McGinnis
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                SOUTHERN DISTRICT OF NEW YORK

 Case number           23-10735
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:         List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
          Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim        Priority              Nonpriority
                                                                                                                                         amount                amount

 2.1          IRS                                                    Last 4 digits of account number                     $995,037.19         $400,399.80           $594,637.39
              Priority Creditor's Name
              PO Box 8208                                            When was the debt incurred?
              Philadelphia, PA 19101
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations
          Check if this claim is for a      community                   Taxes and certain other debts you owe the government
        debt                                                            Claims for death or personal injury while you were intoxicated
        Is the claim subject to offset?                                 Other. Specify
            No                                                                           Income Tax
            Yes


 2.2          NYS Dept. of Taxation & Finance                        Last 4 digits of account number                     $181,018.48         $181,018.48                    $0.00
              Priority Creditor's Name
              Bankruptcy Section                                     When was the debt incurred?
              PO Box 5300
              Albany, NY 12205
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations
          Check if this claim is for a      community                   Taxes and certain other debts you owe the government
        debt                                                            Claims for death or personal injury while you were intoxicated
        Is the claim subject to offset?                                 Other. Specify
            No                                                                           Income Tax
            Yes



 Part 2:         List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 8
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 Debtor 1 James P McGinnis                                                                               Case number (if known)           23-10735

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.
          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                           Total claim

 4.1        American Express                                         Last 4 digits of account number        5004                                                       Unknown
            Nonpriority Creditor's Name
            PO Box 297879                                            When was the debt incurred?
            Fort Lauderdale, FL 33329
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                Debtor 1 only                                           Contingent
                Debtor 2 only                                           Unliquidated
                Debtor 1 and Debtor 2 only                              Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:
                Check if this claim is for a community                  Student loans
            debt                                                        Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims
                No                                                      Debts to pension or profit-sharing plans, and other similar debts
                 Yes                                                    Other. Specify    Credit Card


 4.2        Bryan F. Fox & Co.                                       Last 4 digits of account number                                                                 $12,107.65
            Nonpriority Creditor's Name
            46 North Circular Road                                   When was the debt incurred?
            Dublin, IR
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                Debtor 1 only                                           Contingent
                Debtor 2 only                                           Unliquidated
                Debtor 1 and Debtor 2 only                              Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:
                Check if this claim is for a community                  Student loans
            debt                                                        Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims
                No                                                      Debts to pension or profit-sharing plans, and other similar debts
                 Yes                                                    Other. Specify    Professional Services


 4.3        Capital One                                              Last 4 digits of account number        5770                                                       Unknown
            Nonpriority Creditor's Name
            PO Box 6492                                              When was the debt incurred?
            Carol Stream, IL 60197
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                Debtor 1 only                                           Contingent
                Debtor 2 only                                           Unliquidated
                Debtor 1 and Debtor 2 only                              Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:
                Check if this claim is for a community                  Student loans
            debt                                                        Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims
                No                                                      Debts to pension or profit-sharing plans, and other similar debts
                 Yes                                                    Other. Specify    Credit Cards




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 2 of 8
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 Debtor 1 James P McGinnis                                                                               Case number (if known)         23-10735

 4.4      Capital One Credit Card                                    Last 4 digits of account number       1246                                             Unknown
          Nonpriority Creditor's Name
          PO Box 6492                                                When was the debt incurred?
          Carol Stream, IL 60197
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Consumer Credit


 4.5      Cohen Clair Lans et al.                                    Last 4 digits of account number                                                      $25,000.00
          Nonpriority Creditor's Name
          885 Third Avenue, 32nd Floor                               When was the debt incurred?

          New York, NY 10022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Money Judgment


 4.6      David L. Wolitzky, PH.D.                                   Last 4 digits of account number                                                        $4,400.00
          Nonpriority Creditor's Name
          50 E. 89th Street                                          When was the debt incurred?
          New York, NY 10128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Professional Services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 8
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 Debtor 1 James P McGinnis                                                                               Case number (if known)         23-10735

 4.7      Harvard Club of New York City                              Last 4 digits of account number                                                        $3,116.33
          Nonpriority Creditor's Name
          PO Box 9486                                                When was the debt incurred?
          New York, NY 10087
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Club Dues


 4.8      HSBC Bank                                                  Last 4 digits of account number       3586                                             $2,447.45
          Nonpriority Creditor's Name
          PO Box 4657                                                When was the debt incurred?
          Carol Stream, IL 60197
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit Cards


 4.9      Jaqueline T. Ferraro DMH                                   Last 4 digits of account number                                                      $13,650.00
          Nonpriority Creditor's Name
          140 W 79th Street, 1A                                      When was the debt incurred?
          New York, NY 10025
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Professional Services for Child




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 8
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 Debtor 1 James P McGinnis                                                                               Case number (if known)         23-10735

 4.1
 0        Jo Ann Douglas Family Law, PLLC                            Last 4 digits of account number                                                        $5,446.97
          Nonpriority Creditor's Name
          170 2nd Avenue                                             When was the debt incurred?
          New York, NY 10003
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Professional Services


 4.1
 1        Jodi McGinnis                                              Last 4 digits of account number                                                      $37,059.04
          Nonpriority Creditor's Name
          251 W 92nd Street, #6C                                     When was the debt incurred?
          New York, NY 10025
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify
                                                                                         Money Judgement
 4.1
 2        La Tanzi Spaulding & Landreth                              Last 4 digits of account number                                                        $7,470.01
          Nonpriority Creditor's Name
          Po Box 2300                                                When was the debt incurred?
          Orleans, MA 02653
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Professional Services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 8
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 Debtor 1 James P McGinnis                                                                               Case number (if known)         23-10735

 4.1
 3        Parmet Zhou & Denney LLC                                   Last 4 digits of account number                                                        $6,999.00
          Nonpriority Creditor's Name
          60 East 42nd Street, 40th Floor                            When was the debt incurred?
          New York, NY 10165
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Professional Services


 4.1
 4        PayPal Credit Card                                         Last 4 digits of account number       4164                                             Unknown
          Nonpriority Creditor's Name
          PO Box 960080                                              When was the debt incurred?
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit Card


 4.1
 5        Peiffer Wolf                                               Last 4 digits of account number                                                      $10,615.75
          Nonpriority Creditor's Name
          1519 Robert C. Blakes Sr. Dr, 1st FL                       When was the debt incurred?
          New Orleans, LA 70130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Professional Services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 6 of 8
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 Debtor 1 James P McGinnis                                                                               Case number (if known)         23-10735

 4.1
 6        Robert Motha                                               Last 4 digits of account number                                                        $2,900.00
          Nonpriority Creditor's Name
          6 Cushing Road                                             When was the debt incurred?
          Goffstown, NH 03045
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Tenant Security Deposit


 4.1
 7        Stephen M. Smith & Company LLC                             Last 4 digits of account number                                                        $6,925.00
          Nonpriority Creditor's Name
          509 Madison Avenue                                         When was the debt incurred?
          New York, NY 10022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Professional Services


 4.1
 8        U.S. Dept. of Education                                    Last 4 digits of account number       001                                            $81,741.66
          Nonpriority Creditor's Name
          c/o Nelnet                                                 When was the debt incurred?
          PO Box 82561
          Lincoln, NE 68501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify
                                                                                         Student Loans




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 7 of 8
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 Debtor 1 James P McGinnis                                                                               Case number (if known)         23-10735

 4.1
 9         U.S. Dept. of Education                                   Last 4 digits of account number       002                                            $83,744.00
           Nonpriority Creditor's Name
           c/o Nelnet                                                When was the debt incurred?
           PO Box 82561
           New York, NY 10128
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
               Debtor 1 only                                            Contingent
               Debtor 2 only                                            Unliquidated
               Debtor 1 and Debtor 2 only                               Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:
               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
               No                                                       Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                      Other. Specify
                                                                                          Student Loan
 4.2
 0         William Sonoma Capital One Card                           Last 4 digits of account number       5553                                             Unknown
           Nonpriority Creditor's Name
           PO Box 4069                                               When was the debt incurred?
           Carol Stream, IL 60197
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
               Debtor 1 only                                            Contingent
               Debtor 2 only                                            Unliquidated
               Debtor 1 and Debtor 2 only                               Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:
               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
               No                                                       Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                        Other. Specify   Credit Card

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6.    Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                 6a.       $                           0.00
 Total claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                         6b.       $                1,176,055.67
                        6c.   Claims for death or personal injury while you were intoxicated               6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.      6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                     6e.       $                1,176,055.67

                                                                                                                               Total Claim
                        6f.   Student loans                                                                6f.       $                  165,485.66
 Total claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                        6g.       $                    37,059.04
                        6h.   Debts to pension or profit-sharing plans, and other similar debts            6h.       $                         0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount         6i.
                              here.                                                                                  $                  101,078.16

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                  6j.       $                  303,622.86



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 8 of 8
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                                                                        Pg 25 of 42
 Fill in this information to identify your case:

 Debtor 1                James P McGinnis
                         First Name                         Middle Name         Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name         Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF NEW YORK

 Case number           23-10735
 (if known)                                                                                                                        Check if this is an
                                                                                                                                   amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease              State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

     2.1      Page M. Rossetter                                                       Residential Lease - Expires 9/30/23
              30 Hitchcock Road
              Westport, CT 06880

     2.2      Edward and Eileen Friedman                                              Apartment Lease made as of September 8, 2022 for the
              503 E 82nd Street                                                       apartment at 160 E 82nd Street, Apt 1R, New York, NY.
              New York, NY 10028                                                      Expires 9/30/2023

     2.3      Robert Motha                                                            Residential lease for Debtor's property at 2750 Main
              6 Cushing Road                                                          Street, Brewster, MA 02631. Expires June 1, 2023
              Goffstown, NH 03045




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   James P McGinnis
                            First Name                            Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                            Middle Name       Last Name


 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF NEW YORK

 Case number           23-10735
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:

    3.1                                                                                                Schedule D, line
                Name                                                                                   Schedule E/F, line
                                                                                                       Schedule G, line

                Number             Street
                City                                      State                      ZIP Code




    3.2                                                                                                Schedule D, line
                Name                                                                                   Schedule E/F, line
                                                                                                       Schedule G, line

                Number             Street
                City                                      State                      ZIP Code




Official Form 106H                                                              Schedule H: Your Codebtors                                 Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      James P McGinnis

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF NEW YORK

Case number               23-10735                                                                       Check if this is:
(If known)                                                                                                  An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                 Debtor 1                                   Debtor 2 or non-filing spouse
       If you have more than one job,        Employment status         Employed                                   Employed
       attach a separate page with
       information about additional                                    Not employed                               Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.
                                             Employer's name
                                                                      Fifth Third Bank
       Occupation may include student
                                             Employer's address
                                                                      142 West 57th Street
       or homemaker, if it applies.
                                                                      Suite 1600
                                                                      New York, NY 10019
                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1        For Debtor 2 or
                                                                                                                           non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.           2.    $       26,922.00       $              N/A

3.     Estimate and list monthly overtime pay.                                               3.   +$             0.00      +$             N/A

4.     Calculate gross Income. Add line 2 + line 3.                                          4.    $     26,922.00             $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                   page 1
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Debtor 1    James P McGinnis                                                                                                         Case number (if known)    23-10735


                                                                                                                                         For Debtor 1            For Debtor 2 or
                                                                                                                                                                 non-filing spouse
     Copy line 4 here ...................................................................................................     4.         $      26,922.00        $             N/A

5.   List all payroll deductions:
     5a.      Tax, Medicare, and Social Security deductions                                                                   5a.        $              0.00     $               N/A
     5b.      Mandatory contributions for retirement plans                                                                    5b.        $              0.00     $               N/A
     5c.      Voluntary contributions for retirement plans                                                                    5c.        $              0.00     $               N/A
     5d.      Required repayments of retirement fund loans                                                                    5d.        $              0.00     $               N/A
     5e.      Insurance                                                                                                       5e.        $              0.00     $               N/A
     5f.      Domestic support obligations                                                                                    5f.        $              0.00     $               N/A
     5g.      Union dues                                                                                                      5g.        $              0.00     $               N/A
     5h.      Other deductions. Specify:                                                                                      5h.+       $              0.00 +   $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                                                           6.     $                  0.00     $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                      7.     $          26,922.00        $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                               8a.        $              0.00     $               N/A
     8b.      Interest and dividends                                                                                          8b.        $              0.00     $               N/A
     8c.      Family support payments that you, a non-filing spouse, or a dependent
              regularly receive
              Include alimony, spousal support, child support, maintenance, divorce
              settlement, and property settlement.                                                                            8c.        $              0.00     $               N/A
     8d.      Unemployment compensation                                                                                       8d.        $              0.00     $               N/A
     8e.      Social Security                                                                                                 8e.        $              0.00     $               N/A
     8f.      Other government assistance that you regularly receive
              Include cash assistance and the value (if known) of any non-cash assistance
              that you receive, such as food stamps (benefits under the Supplemental
              Nutrition Assistance Program) or housing subsidies.
              Specify:                                                                                                        8f.  $                    0.00   $                 N/A
     8g.      Pension or retirement income                                                                                    8g. $                     0.00   $                 N/A
     8h.      Other monthly income. Specify:                                                                                  8h.+ $                    0.00 + $                 N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                                                                 9.     $                  0.00     $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                                                          10. $            26,922.00 + $            N/A = $          26,922.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                                                        0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                                                            12.   $         26,922.00
                                                                                                                                                                             Combined
                                                                                                                                                                             monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                                                 Schedule I: Your Income                                                               page 2
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Fill in this information to identify your case:

Debtor 1                 James P McGinnis                                                                   Check if this is:
                                                                                                                An amended filing
Debtor 2                                                                                                        A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                             expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF NEW YORK                                              MM / DD / YYYY

Case number           23-10735
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?
      Do not state the                                                                                                                      No
      dependents names.                                                            Daughter                                                 Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than                Yes
      yourself and your dependents?

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            4,300.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                           277.43
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                  6a.    $                           873.87
      6b. Water, sewer, garbage collection                                                                6b.    $                           108.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                  6c.    $                           301.00
      6d. Other. Specify:                                                                                 6d.    $                             0.00
Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1     James P McGinnis                                                                          Case number (if known)      23-10735

7.    Food and housekeeping supplies                                                           7. $                                               440.00
8.    Childcare and children’s education costs                                                 8. $                                               125.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               130.00
10.   Personal care products and services                                                    10. $                                                  0.00
11.   Medical and dental expenses                                                            11. $                                                  0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                435.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  0.00
14.   Charitable contributions and religious donations                                       14. $                                                  0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   0.00
      15b. Health insurance                                                                15b. $                                                 457.57
      15c. Vehicle insurance                                                               15c. $                                                 733.00
      15d. Other insurance. Specify:                                                       15d. $                                                   0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                              1,000.00
19.   Other payments you make to support others who do not live with you.                         $                                                 0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                               3,800.00
      20b. Real estate taxes                                                               20b. $                                                   0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                   0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                   0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                   0.00
21.   Other: Specify:                                                                        21. +$                                                 0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      12,980.87
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      12,980.87
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                             26,922.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                            12,980.87

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                          23c. $                             13,941.13

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                 Schedule J: Your Expenses                                                                      page 2
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 Fill in this information to identify your case:

 Debtor 1                    James P McGinnis
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF NEW YORK

 Case number              23-10735
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No
                Yes.      Name of person                                                                        Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X       /s/ James McGinnis                                                  X
              James P McGinnis                                                          Signature of Debtor 2
              Signature of Debtor 1

              Date        May 30, 2023                                                  Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  James P McGinnis
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF NEW YORK

 Case number           23-10735
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                               Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there
        45 E 89th Street, Apt 11C                               From-To:                       Same as Debtor 1                                     Same as Debtor 1
                                                                2/19/2019 -                                                                      From-To:
        New York, NY 10128
                                                                9/15/2022

        160 E 82nd Street, 1R                                   From-To:                       Same as Debtor 1                                     Same as Debtor 1
                                                                9/8/2022 -                                                                       From-To:
        New York, NY 10028
                                                                Present

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 For last calendar year:                              Wages, commissions,                      $125,000.00            Wages, commissions,
 (January 1 to December 31, 2022 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1

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 Debtor 1      James P McGinnis                                                                            Case number (if known)   23-10735


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)

 For the calendar year before that:                   Wages, commissions,                      $169,231.00            Wages, commissions,
 (January 1 to December 31, 2021 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business

 For the calendar year:                               Wages, commissions,                      $918,776.00            Wages, commissions,
 (January 1 to December 31, 2020 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business

                                                      Wages, commissions,                      $196,274.00            Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income           Gross income
                                                   Describe below.                  each source                    Describe below.             (before deductions
                                                                                    (before deductions and                                     and exclusions)
                                                                                    exclusions)
 For last calendar year:                           Rental Real Estate                           $22,500.00
 (January 1 to December 31, 2022 )

 For the calendar year before that:                Rental Real Estate                           $76,499.00
 (January 1 to December 31, 2021 )

 For the calendar year:                            Rental Real Estate                                  $0.00
 (January 1 to December 31, 2020 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.
            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2

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 Debtor 1      James P McGinnis                                                                            Case number (if known)   23-10735


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
      including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
      support and alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       James P. McGinnis v. Jodi                                Matrimonial                 NYS Supreme County of                       Pending
       McGinnis                                                                             New York                                    On appeal
       350117/2012                                                                                                                      Concluded

                                                                                                                                    Contested Matrimonial
                                                                                                                                    Action

       KENICHI TAKESHITA et al v.                               Nonpayment                  NY County Civil Court -                     Pending
       JAMES P. MCGINNIS et al                                                              Landlord Tenant Division                    On appeal
       LT-307946-22/NY                                                                                                                  Concluded


       KENISHI TAKESHITA et al v.                               Holdover                    NY County Civil Court -                     Pending
       JAMES P. MCGINNIS et al                                                              Landlord Tenant Division                    On appeal
       LT-308297-22/NY                                                                                                                  Concluded


       Cynthia L. Meyn v. James P.                              Foreclosure                 Massachusetts Superior                      Pending
       McGinnis                                                                             Court Dept, Suffolk                         On appeal
       22-1684-D                                                                                                                        Concluded




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3

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10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                   Value of the
                                                                                                                                                        property
                                                                Explain what happened
       New York City Dept. of Finance                           Lexus SUV                                                     2022                     Unknown
       P.O. Box 680
       Newark, NJ 07101                                              Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
        No
        Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was             Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?
            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
        No
        Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
        Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

            No
            Yes.    Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                                                                                  loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4

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 Part 7:       List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Morrison Tenenbaum PLLC                                                                                                May 4, 2023             $15,000.00
       87 Walker Street, Second Floor
       New York, NY 10013
       www.m-t-law.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
        No
        Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                               have it?
                                                                     State and ZIP Code)

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5

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 Debtor 1      James P McGinnis                                                                                 Case number (if known)   23-10735


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                         have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes.    Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                  Status of the
       Case Number                                                   Name                                                                           case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6

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 Debtor 1      James P McGinnis                                                                            Case number (if known)   23-10735


             No. None of the above applies. Go to Part 12.
             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Halcyon Energy Power and                                Investment fund                                  EIN:         XX-XXXXXXX
        Infrastructure
        299 Park Avenue, 24th Floor                                                                              From-To
        New York, NY 10171

        Morgan Stanley Dean Witter                              Investment Fund                                  EIN:         XX-XXXXXXX
                                                                                                                 From-To


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.
  /s/ James McGinnis
 James P McGinnis                                                        Signature of Debtor 2
 Signature of Debtor 1

 Date       May 30, 2023                                                 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person        . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:

 Debtor 1            James P McGinnis

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Southern District of New York

 Case number         23-10735                                                                          Check if this is an amended filing
 (if known)


Official Form 122B
Chapter 11 Statement of Your Current Monthly Income                                                                                                        12/21
You must file this form if you are an individual and are filing for bankruptcy under Chapter 11 (other than Subchapter V). If more space is
needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).
 Part 1:       Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.

           Not married. Fill out Column A, lines 2-11.

           Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

           Married and your spouse is NOT filing with you. Fill out Column A, lines 2-11.


    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.
    11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your
    monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income
    amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only. If you have
    nothing to report for any line, write $0 in the space.
                                                                                                   Column A                Column B
                                                                                                   Debtor 1                Debtor 2

  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                      14,446.05       $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                        $             0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                        0.00      $
  5. Net income from operating a
     business, profession, or farm                Debtor 1                 Debtor 2
       Gross receipts (before all deductions)                             $     0.00
       Ordinary and necessary operating expenses                          -$    0.00
       Net monthly income from a business, profession, or farm $                0.00 Copy here -> $              0.00      $
  6. Net income from rental and
     other real property                          Debtor 1                 Debtor 2
       Gross receipts (before all deductions)                        $           7,671.00
       Ordinary and necessary operating expenses                     -$              0.00
       Net monthly income from rental or other real                                         Copy
       property                                                      $           7,671.00 here -> $         7,671.00       $




Official Form 122B                                       Chapter 11 Statement of Your Current Monthly Income                                           page 1
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 Debtor 1      James P McGinnis                                                                                 Case number (if known)   23-10735

                                                                                                            Column A                     Column B
                                                                                                            Debtor 1                     Debtor 2

  7. Interest, dividends, and royalties                                                                     $                  0.00      $

  8. Unemployment compensation                                                                              $                  0.00      $
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
            For you ....................................................................$        0.00
            For your spouse.......................................................$
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act. Also, except as stated in the next sentence, do
     not include any compensation, pension, pay, annuity, or allowance paid by the United
     States Government in connection with a disability, combat-related injury or disability,
     or death of a member of the uniformed services. If you received any retired pay paid
     under chapter 61 of title 10, then include that pay only to the extent that it does not
     exceed the amount of retired pay to which you would otherwise be entitled if retired
     under any provision of title 10 other than chapter 61 of that title.                    $                                 0.00      $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments received
      as a victim of a war crime, a crime against humanity, or international or domestic
      terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability,
      or death of a member of the uniformed services. If necessary, list other sources on a
      separate page and put the total below.
                                                                                                            $                            $
                                                                                                            $                  0.00      $
                     Total amounts from separate pages, if any.                                         +   $                  0.00      $

  11. Calculate your total current monthly income.
       Add lines 2 through 10 for each column.
       Then add the total for Column A to the total for Column B.                                   $    22,117.05           +   $                  =   $   22,117.05




Official Form 122B                                                  Chapter 11 Statement of Your Current Monthly Income                                             page 2
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 Debtor 1    James P McGinnis                                                                    Case number (if known)   23-10735




 Part 2:        Sign Below

             By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

            X     /s/ James McGinnis
                James P McGinnis
                Signature of Debtor 1

        Date     May 30, 2023
                MM / DD / YYYY




Official Form 122B                                       Chapter 11 Statement of Your Current Monthly Income                                          page 3
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B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                                               Southern District of New York
 In re       James P McGinnis                                                                                                                      Case No.   23-10735
                                                                                                           Debtor(s)                               Chapter    11

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept ....................................................................                  $               15,000.00
             Prior to the filing of this statement I have received .......................................................                     $               15,000.00
             Balance Due ...................................................................................................................   $        Per Court Order

2.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                                             CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.
                                                                                                             /s/ Lawrence Morrison
     May 30, 2023
     Date                                                                                                 Lawrence Morrison Signature
                                                                                                          of Attorney
                                                                                                          Morrison Tenenbaum PLLC
                                                                                                          87 Walker Street, 2nd FL
                                                                                                          New York, NY 10013
                                                                                                          lmorrison@m-t-law.com

                                                                                                          Name of law firm




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